908 F.2d 966Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Wesley Lindburg ARTIS, Plaintiff-Appellant,v.J.T. MAHON, Assistant Warden;  J. Bain, ClassificationOfficer, Defendants-Appellees.
    No. 89-6421.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Feb. 27, 1990.Decided:  June 22, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., District Judge.  (C/A No. 89-690-N).
      Wesley Lindburg Artis, appellant pro se.
      Mark Ralph Davis, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, K.K. HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Wesley Lindburg Artis seeks to appeal the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, although we grant leave to proceed in forma pauperis, we affirm on the reasoning of the district court.  Artis v. Mahon, C/A No. 89-690-N (E.D.Va. Nov. 16, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    